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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

GOLDMAN VISTA HOLDINGS LLC                    §
DBA KRYSTAL CLEAN CAR WASH                    §
                                              §
          Plaintiff,                          §
                                              §
vs.                                           § CIVIL ACTION NO. 4:22-cv-431
                                              §
OHIO SECURITY INSURANCE                       §
COMPANY,                                      §
                                              §
          Defendant.                          §

______________________________________________________________________________

            DEFENDANT OHIO SECURITY INSURANCE COMPANY’S
                   CERTIFICATE OF INTERESTED PERSONS
                        AND DISCLOSURE STATEMENT
______________________________________________________________________________

          Pursuant to Fed. R. Civ. P. 7.1, Defendant Ohio Security Insurance Company (“Ohio”)

provides the following information:

   1. For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state “None”):

          The name(s) of Defendant Ohio Security Insurance Company's parent corporation
          and any publicly held corporation that owns 10% or more of its stock:

         Ohio Security Insurance Company is a company organized under the laws of the State of
          New Hampshire and for federal court jurisdiction/diversity of citizenship disclosure
          purposes, the principal place of business is 175 Berkeley Street, Boston, Massachusetts.

         Liberty Mutual Holding Company Inc. owns 100% of the stock of LMHC Massachusetts
          Holdings Inc.

         Liberty Mutual Group Inc. owns 100% of the stock of Liberty Mutual Insurance Company,
          Liberty Mutual Fire Insurance Company and Employers Insurance Company of Wausau.




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        Liberty Mutual Insurance Company owns 78%, Liberty Mutual Fire Insurance Company
         owns 6%, Peerless Insurance Company owns 8% and Employers Insurance Company of
         Wausau owns 8% of the stock of Ohio Casualty Corporation.

        Ohio Casualty Corporation owns 100% of the stock of The Ohio Casualty Insurance
         Company.

        The Ohio Casualty Insurance Company owns 100% of the stock of Ohio Security
         Insurance Company.

2.       A complete list of all persons, association of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

         a.     Goldman Vista Holdings LLC d/b/a Krystal Clean Car Wash.

         b.     Ohio Security Insurance Company.

         c.     Matthew R. Pearson and Jarryd S. Morton

         d.     Pearson Legal, P.C.




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May 18, 2022                                         Respectfully Submitted,

                                                     /s/Kieran W. Leary
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                                                     ATTORNEYS FOR DEFENDANT
                                                     OHIO SECURITY INSURANCE
                                                     COMPANY



                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing document
was electronically filed and duly served upon all parties entitled to receive notice via the Court’s
CM/ECF Court Filing System this 18TH day of May, 2022.

                                                  /s/ Kieran W. Leary
                                                  Kieran W. Leary




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